                               Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 1 of 20
                            Case : 57Cll:20-cv-82 Document#: <docnum> Filed: <datefiled> Page 1 of 2

                                                         Mississippi Electronic Courts
                                              Fourteenth Circuit Court District (Pike Circuit Court)
                                                CIVIL DOCKET FOR CASE #: 57Cl1 :20-cv-00082

                            BATES et al v. MCCOMB NURSING AND                               Date Filed: 08/13/2020
                            REHABILITATION CENTER, LLC                                      Current Days Pending: 29
                            Assigned to: David H. Strong                                    Total Case Age: 29
                                                                                            Jury Demand: Plaintiff
                            Upcoming Settings:                                              Nature of Suit: 175 Other Torts

                            None Found

                            Plaintiff
                            T. STEPHEN BATES,                                represented by Philip Carey Hearn
                            INDIVIDUALLY                                                    P. 0. Box 5009
                                                                                            JACKSON, MS 39296
                                                                                            601-720-3541
                                                                                            Fax: 601-969-2161
                                                                                            Email: philiphearn@yahoo.com
                                                                                            ATTORNEY TO BE NOTICED

                            Plaintiff
                            ALL WRONGFUL DEATH                               represented by Philip Carey Hearn
                            BENEFICIARIES OF MARY BATES                                     (See above for address)
                                                                                            ATTORNEY TO BE NOTICED


                            V.
                            Defendant
                            MCCOMB NURSING AND                               represented by William Davis Frye
                            REHABILITATION CENTER, LLC                                      Butler Snow LLP
                                                                                            1020 Highland Colony Parkway
                                                                                            Suite 1400
                                                                                            P.O. Box 6010
                                                                                            RIDGELAND, MS 39157
                                                                                            601-985-4277
                                                                                            Fax: 601-985-4500
                                                                                            Email: davis.frye@butlersnow.com
                                                                                            ATTORNEY TO BE NOTICED
/" '• ,,                           r~ '
     '   .'••···      t             •
',       ' Cntn,4' ~ate Filed             #    Docket Text
           '"::-' "1"': ~   ,.¥"

                             08/13/2020   l    Civil Cover Sheet. (Roberts, Kayla) (Entered: 08/13/2020)
                                               COMPLAINT (JURY TRIAL DEMANDED) against MCCOMB NURSING AND
                                               REHABILITATION CENTER, LLC, filed by T. STEPHEN BATES, INDIVIDUALLY,
                             08/13/2020   2    AND ON BEHALF OF ALL WRONGFUL DEATH BENEFICIARIES OF MARY
                                               BATES. (Roberts, Kayla) Modified on 8/17/2020 (Roberts, Kayla). (Entered:
                                               08/13/2020)

                             08/13/2020        PAYMENT - Amount Received: $161.00. Remarks: Initial Filing Fee. Receipt# 86794.
                                          3
                                               (Roberts, Kayla) (Entered: 08/13/2020)

                             08/13/2020     SUMMONS Issued to MCCOMB NURSING AND REHABILITATION CENTER,
                                          1 LLC. (Roberts, Kayla) (Entered: 08/13/2020)
                                              NOTICE of Notice of Removal by MCCOMB NURSING AND REHABILITATION
                             09/09/2020   .2 CENTER, LLC (Attachments: # l Exhibit A - Notice of Removal,) (Frye, William)
                                               (Entered: 09/09/2020)
   Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 2 of 20
Case: 57Cl1:20-cv-82 Document#: <docnum> Filed: <datefiled> Page 2 of 2
09/09/2020   Q.   NOTICE of Appearance by William Davis Frye on behalf of MCCOMB NURSING
                  AND REHABILITATION CENTER, LLC (Frye, William) (Entered: 09/09/2020)
                       Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 3 of 20

                C
             Civil case Filing Form
                                                                  :s                         c~-
                                                                                  ,t.t ...Court ID
      (To be completed by Attorney/Party
           Prior to Filing of Pleading)
                                                                  <:ounty I     Judfdal
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Mississippi Supreme Court                      FormAOC/01
                                                                10 IZ 11 13 1i 1° 1
                                                                    Month     Date                 Year
Administrative Office of Courts                    Rev 2016         This am to be                         cterlt                            case Number If flied
                   In the CIRCUIT                                Court of PIKE                                          County                      Judicial District

Ong n o uit        ace an
       [KJ Initial Filing                                       O foreign Judgment Enrolled                           O Transfer from Other court                   O Other
       O Remanded                  O Reopened                   O Joining Suit/Action                                 O Appeal
Plaintiff· Party(les) Initially Bringing Suit Should Be Entered First • Enter Additional Plaintiffs on Separate Form
Individual Bates                                            T. Stephen
                              last Name                    ---:.-.,f,..irs_t_N_a_m_e___              Maiden Name, if applicable                          """&IT"'        Jr/Sr/Ill/IV
      ~ Check ( x ) if Individual Plainitiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

           Estate of - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
      - - Check ( x) if Individual Planitiff is acting in capacity as Business Owner/Operator (d/b/a) or State Agency, and enter entit)
           0/8/A or Agency
Business _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  Enter legal name of business, corporation, partnership, agency - If Corporation, indicate the state where incorporated
      __ Check ( x ) if Business Planitiff is filing suit in the name of an entity other than the above, and enter below:
            0/8/A _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Address of Plaintiff
Attorney (Name & Address)                                                              eet. Suite 301. Jackson. MS 39202                         MS Bar No. ~9:,:::3:.:::;66;::..._ __




Individual
                              last Name                                    First Name                         Maiden Name, if applicable                 """&IT"'        Jr/Sr/Ill/IV
      __ Check ( x ) if Individual Defendant is acting in capacity as Executor(trlx) or Admlnlstrator(trix) of an Estate, and enter style:

           Estate ot - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
      - - Check ( x) if Individual Defendant is acting in capacity as Business Owner/Operator {d/b/a) or State Agency, and enter entity:
           0/B/A or Agency

Business McComb Nursing and Rehabilitation Center, LLC
                                  Enter legal name of business, corporation, partnership, agency • If Corporation, indicate the state where incorporated
      __ Check ( x) if Business Defendant is acting in the name of an entity other than the above, and enter below:
            0/8/A _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Attorney (Name & Address) • If Known                                                                                                             MS Bar No.

  _   Check ( x ) If child support is contemplated as an issue in this suit.•                           D     Alcohol/Drugeomm1tmentr--.1                       Real Property
      •If checked, please submit completed Child Support lnfonnation Sheet with this Cover Sheet        0     Other                                      Adverse Possession
Nature of Suit (Place an "X" In one box only)                                                             Children/Minors· Non-Domestic             E3   Ejectment
        Domestic Relations
D Child Custody/Visitation
                                               I O Accounting (Business)
                                                          Business/Commercial                                 Adoption - Contested                  D Eminent Domain
                                                                                                        □     Adoption · Uncontested                D Eviction
O Child Support                                  O Business Oissolutlon                                 D     Consent to Abortion                   D Judicial Foreclosure
O Contempt                                       O Debt Collection                                      D     Minor Removal of Minority
                                                                                                                                                    □ Partition
                                                                                                                                                      Lien Assertion
D Oivorce:Fault                                  D Employment                                                 Other                                 0
O Divorce: Irreconcilable Ditf.                  D Foreign Judgment                                                   Civil iiii!its                0    Tax Sale: Confirm/Cancel
D Domestic Abuse                                 □ Replevin
                                                   Garnishment                                      I~ Elections                                    0    Tltle Boundary or Easement

□ Modification
  Emancipation
                                                 D                                                      □
                                                                                                              Expungement                           0    Other

□                                                      Other
                                                                                                        D Habeas Corpus                                               Torts
D Paternity                                                      Probate
                                                                                                        □ Other
                                                                                                          Post Conviction Relief/Prisoner
                                                                                                                                                    □    Bad Faith
□
  Property Division                                    Accounting Probate)                              D                                           D    Fraud
D Separate Maintenance                           □
                                                       Birth Certificate Correction
                                                                                                    I                  Contract
                                                                                                                                                    □    Intentional Tort
□ UIFSA (eff 7/1/97; formerly URESA)
  Term. of Parental Rights-Chancery
                                                 D     Mental Health Commitment
                                                                                                        D Breach of Contract                        □    loss of Consortium
□ Other                                          D     Conservatorshlp
                                                                                                        D Installment Contract
                                                 D     Guardianship
                                                                                                        D Insurance                                 □    Malpractice • Legal

                       s                         D                                                                                                  D    Malpractice - Medical
                                                                                                        □ Other
                                                       Heirship                                           Specific Performance
                                                 O                                                                                                  □    Mass Tort
 □                                                                                                      □
      Administrative Agency                            Intestate Estate

                                                                                                    I                                               □    Negligence - General
 □                                               □
      County Court                                     Minor's Settlement                                      Statutes7Rules
                                                                                                                                                    D    Negligence - Motor Vehicle
 D    Hardship l'etition (Driver license)
                                                 □ Name Change
                                                       Muniment of Title
                                                                                                        □ Civil Forfeiture
                                                                                                              Bond Validation
                                                 D                                                                                                  □    Premises Liability
 □                                                                                                      □ Declaratory Judgment
      Justice Court
                                                 D Testate Estate                                                                                   □
                                                                                                                                                    B    Product Liability
 □                                                                                                      □
      MS Dept Employment Security
                                                                                                                                                        Subrogation
 □
      Municipal Court                            O WillContest                                          D Injunction or Restraining Order               Wrongful Death
 □                                                □ AICX>hol/Orug Commitment-
                                                                                                        □
      Other                                                                                               Other                                     [BJ Other Negligence
               Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 4 of 20

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                          IN THE CIRCUIT COURT OF PIKE COUNTY, MISSISSIPPI


         T. STEVEN BATES, INDIVIDUALLY, AND
         ON BEHALF OF ALL WRONGFUL
         DEATH BENEFICIARIES OF MARY BATES                                                       PLAil\TIFF

         V.                                                                CAUSE NO.:         1.0.-0&12- PCS
         MCCOMB NURSING & REHABILITATION CENTER, LLC                                           DEFENDANT


                                                   COMPLAINT
                                              JURY TRIAL DEMANDED

                 COMES NOW the Plaintiff T. Steven Bates. individually and on behalf of the wrongful

         death beneficiaries of Mary Bates. Deceased. by and through his counsel of record. and files this

         Complaint for damages against Defendant McComb Nursing & Rehabilitation Center. LLC.

         stating grounds as follows

                                               I.         INTRODUCTION

                  1.      This is a Complaint for v.Tongful death. negligence. nursing home abuse and

         neglect. gross negligence. and reckless disregard for the safety of \itary Bates. failure to proYide

         the minimal standard of care. and for recovery of monetary damages for the death and personal

         injuries sustained by Mary Bates as a result of the conduct of the Defendant.

                                                    II.     PARTIES

                  2.      Plaintiff I . Ste, en Bates is an adult resident citizen of Pike County. MS. He brings

         this suit in his individual capacity and on behalf of all \.Vfongful death beneficiaries of Mary Bates.

         Deceased.

                  3.      Defendant McComb Nursing & Rehabilitation Center. LLC [.. McComb Nursing &

         Rehab""] is a Mississippi corporation with its principal place of business located at 415 Marion

         AvelnH...ib:Domb. MS
         PIKE COUNTY. MISS.
                                     31648. Defendant McComb Nursing & Rehab may be ser ed with process
           AUG 13 2020                                       1

           R~ORAVES
                                         !
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IY             Q.!Rt<'.
~-----==-===--==-:==-.................
     Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 5 of 20

   Case : 57Cll :20-cv-00082          Document#: 2         Filed: 08/13/2020       Page 2 of 7



by service upon its Registered Agent, United Corporate Services Inc .. whose business address is

248 E. Capitol Street. Suite 840. Jackson. MS 39201.

                             III.    JURISDICTION AND VENUE

        4.      Jurisdiction is proper in this Court pursuant to the Mississippi Constitution of 1892

and Mississippi Code Ann. § 9-7-81. as the amount of damages sought is within the jurisdictional

limits of this Court.

        5.      Venue is proper in Hinds County since the conduct at issue occurred in whole or in

part in Pike County. Mississippi. and the Defendant resides in Pike County. Mississippi.

                              IV.     ATTORNEY CERTIFICATE

        6.      The provisions of Mississippi Code Annotated § 11-1-S8 regarding consultation

with an expert witness have been complied with. The undersigned attorney has reviewed the facts

of the case. has consulted with at least one expert qualified pursuant to the Mississippi Rules of

Civil Procedure and Mississippi Rules of Evidence who is qualified to give expert testimony as to

the standard of care or negligence and who the undersigned reasonably believes is knowledgeable

in the relevant issues involved in the particular action and the undersigned has concluded on the

basis of such review and consultation that there is a reasonable basis for the commencement of

this action. In addition. the undersigned attorney has concluded on the basis of his own

investigation that there is a reasonable basis for the commencement of this action.

        7.      By Certified Letter dated August 9. 2019. the undersigned delivered Plaintiffs

Notice of Claim to McComb           ursing & Rehabilitation Center pursuant to Mississippi Code

Annotated§ 15-1-36. which requires that sixty (60) days· notice of intent to file suit be given. Said

. otice of Claim was signed for by Defendant on August 12. 2019.            Thus. all statutory and

administratiYe requirements for filing suit have been met.



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                                            V.      FACTS

        8.       Ms. Bates suffered from a stroke in March or April of 2018 and passed away on

August 13. 2018.     She received her initial treatment at Southwest Regional Medical Center in

McComb. Mississippi. During this time it was determined that she should be sent to a nursing

home to assist her with her daily living and her family agreed to send her to McComb     ursing and

Rehabilitation in McComb. Mississippi. During her stay at McComb Nursing and Rehab. Ms.

Bates suffered serious neglect by the medical staffs failure to tum and or alternate her position

while she remained bed bound. This failure resulted in bedsores on her buttocks. She also suffered

from severe dehydration and hypennatremia. lJTI. acute kidney injury. toxic metabolic

encephalopathy. a failure to thrive. and she had a history of CVA with hemiplegia and contractions.

and a history of HTN. hyperlipidemia. DM. dysphagia and arthritis.

        9.       Despite these conditions. Ms. Bates still experienced inattention and complete

apathy for her state and the situation further deteriorated. The many instances of neglect were the

result of the negligence of the McComb Nursing Home and Rehab physicians. the treating nurses.

and other staff members who ,vere charged with providing care to Ms. Bates. with respons.ibility

for said deficient care imputed to Defendant. Ms. Bates as well as her family members voiced

their concerns to the staff at McComb Nursing Home and Rehab. but no corrective and/or

preventative measures were taken. The negligent acts of McComb Nursing Home and Rehab and

its staff include. but are not limited to. the following :

             •   Failure to properly monitor and care for Mary Bates and ensure proper positioning:

             •   Failure to properly monitor and consistently check Mary Bates for decubitus ulcers:




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              •   Failure to properly follow physician's orders for rotating positions and offloading

                  to prevent and heal his decubitus ulcers.

              •   Failure to properly monitor Mary Bates· condition.

       10.        As stated above. Ms. Bates and her family repeatedly voiced their concerns to

nurses and other staff. but to no avail. Corrective measures were never taken to provide

appropriate care to Ms. Bates. McComb Nursing Home and Rehab. the limited liability entities.

officers. representatives. employees. co-partners, and fellow LLC representatives and members

(hereinafter collectively referred to as McComb Nursing Home and Rehab) and its staff

represented to Ms. Bates that she would be taken care of: that she would have proper nursing care:

and that she would be attended with the normal professional standard nursing care. McComb

 ursing Home and Rehab. its officers. directors. representatives. members of the LLC. agents.

and/or employees and staff were negligent in their treatment of Ms. Bates by failing to adhere to

the proper standard of care: and their negligence was a proximate cause of the development of her

decubitus ulcers. dehydration. and malnutrition. and/or other injuries.

        11.       The staff violated the standard of care by failing to timely and frequently examine

and treat Mary Bates. Deceased; because if they had. they would have been aware of Ms. Bates·

condition and she would have received treatment of her conditions.        Defendant simply ignored

Ms. Bates" s condition and concerns. The staff was negligent by not monitoring Mary Bates: not

turning Mary Bates on a strict schedule in an effort to prevent the decubitus ulcers and/or other

injuries: and for failing to refer her for a higher level of care before her condition required

hospitalization.

        12.       The conduct of Defendant did not meet the minimum requirements for the standard

of care due and owed to Ms. Bates. The physicians. nurses. pharmacy and other staff of these



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facilities were negligent in their treatment of Ms. Bates by failing to adhere to the proper standard

of care: and their negligence was a proximate cause of her deteriorating condition and ultimately.

her death.

                                 VI.        CLAIMS FOR RELIEF

                                       A.      NEGLIGENCE

         13.   The Defendant and its employees were negligent in their care and treatment of Mary

Bates.

         14.   As a result of the negligence of the Defendant and its employees Mary Bates

suffered injuries and died.

         15.   The negligence committed by the Defendant and its employees was proximately

caused by the management of the facilities and resulted in injuries and death to Mary Bates.

                                 R          NEGLECTandABUSE
         16.   As a resident of the facility. the Defendant owed Mary Bates a duty to exercise

reasonable care to prevent neglect and abuse of Mary Bates while she was a resident of the Facility.

         17.   Neglect includes the failure of a caretaker to supply a vulnerable adult \\ith the

food. clothing. shelter. healthcare. supervision. or other services that were necessary to maintain

her mental and physical health. Failure to provide the minimum standard of care constitutes neglect

and abuse.

         18.   Neglect and/or abuse of a nursing home resident is a breach of the applicable

standard of care.

         19.   The Defendant and its employees neglected and abused Mary Bates in violation of

Mississippi law. which caused her to suffer damages and death.




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   Case: 57Cll :20-cv-00082           Document#: 2       Filed: 08/13/2020       Page 6 of 7



         20.    The neglect and abuse of Mary Bates was willful or wanton conduct in reckless

disregard of the safety of Mary Bates and justifies an award of punitive damages against the

Defendant.

         21.    The neglect and abuse of Mary Bates committed by the Defendam·s employees was

proximately caused by the breach of the minimum standard of care owed to Mary Bates.

                                 C.     GROSS NEGLIGENCE

         22.    The Defendant is liable for all negligent acts and omissions committed by its

employees and agents who provided care or were supposed to provide care to Mary Bates.

         23.    Defendant"s employees and agents were grossly negligent in their care of Mary

Bates.

         24.    Defendant" s employees and agents were also grossly negligent in failing to provide

Mary Bates with adequate care and treatment.

         25 .   Defendant· s employees managed and operated the Facility in a willful. reckless and

wanton manner with respect to the health of Mary Bates and other residents at McComb Nursing

& Rehab.

         26.    Judgment should be entered against Defendant and damages awarded to Plaintiff in

an amount adequate to compensate Plaintiff for the death of Mary Bates and the physical pain and

suffering and mental anguish suffered by Mary Bates caused by the gross negligence of Defendant

and its employees and agents.

                                 VII.    RELIEF DEMANDED

         27.    Plaintiff requests economic damages against Defendant in an amount equal to all

sums collected by Defendant to provide care or treatment to Mary Bates during all time periods




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    Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 10 of 20


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when the agreed-on level of care was not provided. and any and all other economic damages

available to Plaintiff.

        28.     Plaintiff requests damages for physical pain and suffering and mental anguish

against Defendant in an amount not less than $500.000.00.

        29.     Plaintiff requests punitive damages against Defendant for its willful or wanton

conduct in reckless disregard for the safety of Mary Bates.

        30.     Plaintiff requests any other actual. compensatory. consequential, incidental. and

punitive damages to which he or Mary Bates is or was entitled to recover under :\1ississippi law.

        31.     Plaintiff requests attorneys· fees, costs. expenses. pre-judgment and post-judgment

interest allowed by law and any other relief deemed appropriate by the Court.

        WHEREFORE, requests a jury trial and that he be awarded all damages that he and the

\.VTongful death beneficiaries of Mary Bates are entitled to recover.

        This the 12th day of August. 2020.

                                              Respectfully Submitted.

                                              T. STEVEN BATES, INDIVIDUALLY, AND
                                              FOR AND ON BEHALF FALL WRONGFUL
                                              DEATH       FI Cl ARI S OF MARY
                                              B




OF COUNSEL:

Philip C. Heam. Esq. (MSB #9366)
HEARN LAW FIRM. P.A.
Post Office Drawer 5009
Jackson. MS 39296-5009
Telephone: 601. 720.3541
Facsimile: 601.969.2161
Email: philiphearn@yahoo.com

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     Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 11 of 20

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                IN THE CIRCUIT COURT OF PIKE COUNTY, .MISSISSIPPI


T. STEVEN BATES, INDIVIDUALLY, AND
ON BEHALF OF ALL WRONGFUL
DEATH BENEFICIARIES OF MARY BATES                                                             PLAINTIFF

V.                                                                    CAUSE NO.:          1-0--0~2-'PCS
MCCOMB NURSING & REHABILITATION CENTER, LLC                                                 DEFENDANT


                                               SUMMONS

                                             (Process Server)

        TO:     McComb Nursing & Rehabilitation Center, LLC
                Registered Agent: United Corporate Services Inc.
                248 E. Capitol Street, Suite 840
                Jackson, MS 39201

                                     NOTICE TO DEFENDANT(S)

      THE COMPLAINT ATIACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST
TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS.

        You are required to mail or hand-deliver a copy of a written response to the attached Complaint to
Philip C. Heam, attorney for the Plaintiff, whose physical address is 1510 North State Street, Suite 301,
Jackson, MS 39202 and whose mailing address is P.O. Drawer 5009,Jackson, Mississippi 39296-5009. Your
response to the Complaint must be mailed or hand delivered within (30) days from the date of delivery of this
summons and complaint or a judgment by default will be entered against you for the money or other things
demanded in the complaint.

        You must also file the original of your response with the Clerk of this Court withjn a reasonable time
afterward.

        Issued under my hand and seal of this Court, this the Jrday of A~uS'f', 2020.
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              IN THE CIRCUIT COURT OF PIKE COUNTY, MISSISSIPPI

T. STEVEN BATES, INDIVIDUALLY, AND
ON BEHALF OF ALL WRONGFUL
DEATH BENEFICIARIES OF MARY BATES                                                    PLAINTIFF

V.                                                                        CAUSE NO. 20-CV-00082

MCCOMB NURSING & REHABILITATION                                                    DEFENDANT
CENTER, LLC


                       NOTICE OF FILING NOTICE OF REMOVAL




       Defendant McComb Nursing and Rehabilitation Center, LLC hereby gives notice to the

Circuit Court of Pike County, Mississippi, that Defendant has filed a Notice of Removal with the

United States District Court for the Southern District of Mississippi, Western Division, and that

this case has been removed to that court. A true and correct copy of the Notice of Removal,

without exhibits, is attached as Exhibit "A."

       This 9th day of September 2020.

                                                Respectfully submitted,

                                                MCCOMB NURSING AND
                                                REHABILlTA TION CENTER, LLC

                                                By Its Attorneys,

                                                BUTLER SNOW LLP

                                                W Davis Frye
                                                W. Davis Frye (MB No. 10671)
                                                Clay Gunn (MB No. 102920)
                                                Caroline C. Loveless (MB No. 105960)
                                                BUTLER SNOW LLP
                                                MAILING : Post Office Box 6010
                                                Ridgeland, Mississippi 39158-6010
                                                PHYSICAL: 1020 Highland Colony Parkway
                                                Suite 1400
                                                Ridgeland, Mississippi 39157
     Case 5:20-cv-00177-KS-MTP Document 2 Filed 09/14/20 Page 13 of 20

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                                             Tel.: (601) 985-4277
                                             Fax: (601) 985-4500
                                             Davis.Frye@butlersnow.com
                                             C1ay.Gunn@butlersnow.com
                                             Caroline. Loveless@butlersnow.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the foregoing document with the Clerk of the

Court using the Court's MEC system, which sent notification of such filing to all counsel of

record, including the following:

               Phillip C. Hearn
               HEARN LAW FIRM, P.A.
               Post Office Drawer 5009
               Jackson, Mississippi 39296-5009
               phil li phearn(aNahoo. com

               ATTORNEY FOR PLAINTIFF

        THIS the 9th day of September 2020.

                                             Isl Davis Frye
                                             DAVIS FRYE
54388197.vl




                                                2
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                          UNITED ST ATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION

T. STEVEN BATES, INDIVIDUALLY, AND
ON BEHALF OF ALL WRONGFUL
DEATH BENEFICIARIES OF MARY BA TES                                                  PLAINTIFF

V.                                                       CIVIL ACTION NO. _ _ _ __

MCCOMB NURSING & REHABILITATION                                                   DEFENDANT
CENTER, LLC


                                  NOTICE OF REMOVAL



TO:     THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
        THE SOUTHERN DISTRICT OF MISSISSIPPI, WESTERN DNISION

        Roger A. Graves, Clerk
        CIRCUIT COURT OF PIKE COUNTY, MISSISSIPPI
        P.O . Box 301
        Magnolia, MS 39562

        Phillip C. Heam
        HEARN LAW FIRM, P.A.
        Post Office Drawer 5009
        Jackson, Mississippi 39296-5009
        philliphcam(ci!yahoo.com

        ATTORNEY FOR PLAINTIFFS


        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant

McComb Nursing and Rehabilitation Center, LLC ("McComb") files this Notice of Removal of

the civil action styled T. Steven Bates, Individually, and on behalf of all wrongful death

beneficiaries of Mary Bates v. McComb Nursing and Rehabilitation Center, LLC; Cause No. 20-

cv-00082, from the Circuit Court of Pike County, Mississippi, to the United States District Court




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                                                         EXHIBIT
                                                              A
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for the Southern District of Mississippi, Western Division. In support of this Notice, McComb

states the following:

       1.      Plaintiff T. Steven Bates filed this medical negligence action in the Circuit Court

of Pike County Mississippi, on August 13, 2020. The lawsuit arises out of the care and treatment

provided to Mary Bates while a resident of McComb. According to the Complaint, Mary Bates

suffered injuries as a result of McComb's alleged negligence.

       2.      Plaintiff served McComb with a copy of a Summons and Complaint on August

13 , 2020. See Exhibit A. This Notice of Removal is filed within thirty days of receipt of the

Summons and Complaint and is thus timely under 28 U.S .C. § 1446.

       3.      Venue is proper in the United States District Court for the Southern District of

Mississippi, Western Division because that is the district in which the state court action was

filed . See 28 U .S.C. §§ 1446(a), 104(b)(l).

       4.      This Court has original jurisdiction over this action-there is complete diversity

of citizenship between Plaintiff and Defendant and more than $75 ,000 is in controversy,

exclusive of interest and costs. See 28 U .S.C. § 1332.

        5.     As the Plaintiff alleges damages in an amount "not less than $500,000.00," the

amount in controversy exceeds $75,000. See Complaint at ,r 28. Additionally, Plaintiff claims

that McComb caused Ms. Bates to suffer physical pain and suffering and mental anguish. See

Complaint at ,r 26. Such claims for alleged serious and permanent injuries support a finding that

the amount in controversy exceeds $75 ,000.00. Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880,

883 (5th Cir. 2000) (finding amount in controversy to exceed $75,000 as plaintiff sought

damages for medical expenses, physical pain and suffering, loss of wages and permanent

disability and disfigurement for injuries sustained after falling in defendant's store); Irons v.




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Glaxo Welcome, Inc., 2006 WL 1272797, at *2 (S.D. Miss. May 9, 2006) (citing Gebbia and

holding that amount in controversy requirement met based on plaintiff's claims for medical

expenses, lost wages, physical pain and suffering and mental anguish arising from use of

defendant's product).

       6.      Additionally, Plaintiffs' punitive damages claim meets the jurisdictional

threshold. See Complaint at , 29. Federal courts in Mississippi have consistently held that a

claim for an unspecified amount of punitive damages is deemed to exceed the jurisdictional

minimum. Sun Life Assur. Co. v. Fairley, 485 F.Supp.2d 731, 735 (S.D.Miss. 2007). As such,

even without the claims for actual and compensatory damages, Plaintiff's claim for punitive

damages in and of itself establishes the requisite amount in controversy.

       7.      Diversity of citizenship exists because Plaintiff alleges to be a citizen of

Mississippi, and McComb is not a citizen of Mississippi. Complaint at, 2. As set forth in detail

below, McComb Nursing and Rehabilitation Center, LLC, is a Mississippi limited liability

company whose members are all citizens of the State of New York. Therefore, McComb is a

citizen of New York, not Mississippi. See Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077,

1080 (5th Cir. 2008) (holding that the citizenship of a LLC is that of all its members).

       8.      McComb Nursing and Rehabilitation Center, LLC's members are D&N, LLC,

and DTD HC, LLC. D&N, LLC, and DTD HC, LLC, are New York limited liability companies.

D&N, LLC's members are Norbert A. Bennett, the Norbert A. Bennett Children's Trust, and the

Norbert A. Bennett Grand-Children's Trust. Mr. Bennett is a citizen of New York. The Norbert

A. Bennett Children's Trust and the Norbert A. Bennett Grand-Children's Trust are traditional

trusts. The trustee of the Norbert A. Bennett Children's Trust is Ronald Bennett, a citizen of

New York, and the trustee of the Norbert A. Bennett Grand-Children's Trust is also Ronald




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Bennett.       See Mullins v. TestAmerica, Inc., 564 F.3d 386, 397 n. 6 (5th Cir. 2009) (citing

Navarro Savs. Ass'n v. Lee, 446 U.S. 458, 464 (1980) (holding that the citizenship of a trust is

that of its trustee)).

        9.         OTO HC, LLC's members are Donald T. Denz and the Donald T. Denz

Irrevocable Trust.       Mr. Denz is a citizen of the State of New York.     The Donald T. Denz

Irrevocable Trust is a traditional trust, and the trustee of the Donald T. Denz Irrevocable Trust is

Martin J. Clifford, a citizen ofNew York.

         10.       In accordance with 28 U.S.C. § 1446(a), McComb has provided notice to Plaintiff

by mailing Plaintiffs counsel a copy of this Notice and the state court Notice of Filing of Notice

of Removal. McComb has also provided notice to the Clerk of Court for the Circuit Court of

Pike County, Mississippi, through the filing of this Notice and the Notice of Filing of Notice of

Removal into the record of the state court action. See Exhibit B.

         11.       The allegations of this Notice are true and correct, and as such, this cause of

action is removable to the United States District Court for the Southern District of Mississippi,

Western Division.

        This the 9th day of September 2020.

                                               Respectfully submitted,

                                               MCCOMB NURSING AND
                                               REHABILITATION CENTER, LLC

                                               By Its Attorneys,

                                               BUTLER SNOW LLP

                                               W Davis Frye
                                               W . Davis Frye (MB No. 10671)
                                               Clay Gunn (MB No. 102920)
                                               Caroline C. Loveless (MB No. 105960)
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                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the foregoing document with the Clerk of the

Court using the Court's electronic filing system, which sent notification of such filing to all

counsel of record, including the following:

               Phillip C. Heam
               HEARN LAW FIRM, P.A.
               Post Office Drawer 5009
               Jackson, Mississippi 39296-5009
               philliphearn@yahoo.com

               ATTORNEY FOR PLAINTIFF

        THIS the 9th day of September 2020.

                                              W Davis Frye
54386271.vl




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              IN THE CIRCUIT COURT OF PIKE COUNTY, MISSISSIPPI

T. STEVEN BATES, INDIVIDUALLY, AND
ON BEHALF OF ALL WRONGFUL
DEATH BENEFICIARIES OF MARY BA TES                                             PLAINTIFF

V.                                                                  CAUSE NO. 20-CV-00082

MCCOMB NURSING & REHABILITATION                                              DEFENDANT
CENTER, LLC


                                  NOTICE OF APPEARANCE



       PLEASE TAKE NOTICE that W. Davis Frye with the law firm of Butler Snow LLP

hereby enters his appearance as one of the attorneys of record for Defendant McComb Nursing

and Rehabilitation Center, LLC.

       This 9th day of September 2020.

                                          Respectfully submitted,

                                          MCCOMB NURSING AND
                                          REHABILITATION CENTER, LLC

                                          By Its Attorneys,

                                          BUTLER SNOW LLP

                                          W Davis Frye
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                                              Caro line. Loveless@butlersnow.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the foregoing document with the Clerk of the

Court using the Court's MEC system, which sent notification of such filing to all counsel of

record, including the following:

               Phillip C. Hearn
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               Jackson, Mississippi 39296-5009
               philliphearn<a.;yahoo.corn

               ATTORNEY FOR PLAINTIFF

        THIS the 9th day of September 2020.

                                              Isl Davis Frye
                                              DAVIS FRYE
54542930.vl




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